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United States Government Accountability Office

GAO -

Testimony =

Before the Subcommittee on Energy and
Mineral Resources, Committee on Natural
Resources, House of Representatives

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OIL AND GAS
MANAGEMENT

Key Elements to Consider

for Providing Assurance of =
Effective Independent =
Oversight

Statement of Frank Rusco, Director
Natural Resources and the Environment

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OIL AND GAS MANAGEMENT

Key Elements to Consider for Providing Assurance of
Effective Independent Oversight

What GAO Found

Technical Expertise. Oil and gas production methods on federal lands and
waters have become increasingly sophisticated over the past decade. GAO
found in a March 2010 report that Interior had challenges in hiring, training,
and retaining key staff, leading to questions about the technical capacity of
Interior staff overseeing oil and gas activities. Interior’s challenges partly stem
from competition with the oil and gas industry, which can pay staff higher
salaries. Moreover, key technical positions responsible for oversight of oil and i
gas activities have experienced high turnover rates, which, according to

Interior officials, impede their capacity to oversee oil and gas activities.

Ability to perform reviews and require that findings be addressed. In several

recent reports, GAO found that Interior was unable to complete necessary

reviews, including environmental and oil and gas production verification ses
inspections, and had an ill-defmed process for conducting certain offshore ~~

environmental analyses. For example, GAO reported in March 2010 that MMS

faced challenges in Alaska conducting required environmental reviews,

because although Interior policy directed MMS to prepare a handbook

providing guidance on how to conduct these reviews, MMS lacked such a

handbook, This lack of guidance also left unclear MMS’s policy on what
constitutes a significant environmental impact. ~

Enforcement Authority. In a March 2010 review, GAO determined that in
some instances, Interior was uncertain about its legal authority for
undertaking potential necessary enforcement actions, and that Interior may be
inconsistently using its enforcement authority. For example, staff from one
BLM office told us that they were not issuing enforcement actions for
unauthorized devices intended to modify gas flow upstream of the
measurement meter—which may result in inaccurate measurement of gas
production volumes. These staff explained that this was due to measurement
regulations that were out of date.

Public Access. In its preliminary results from ongoing work on public
challenges to BLM’s federal onshore oil and gas lease sale decisions in the
four Mountain West states responsible for most federal oil and gas
development, GAO found state-by-state variation in what protest-related
information was made publicly available across BLM state offices. GAO also
found that stakeholders, including industry groups and nongovernmental sean
organizations representing environmental, recreational, and hunting interests,
expressed frustration with the transparency and timeliness of the information.

Independence. During GAO’s work in 2009 and in Interior OIG reports in 2008

and 2010, several instances were identified where Interior staff had a
inappropriate relationships with oil and gas industry personnel, raising ann
questions about whether Interior’s oversight efforts were sufficient. The OIG ~
found numerous instances of inappropriate contact between industry and

Interior staff, cluding staff receipt of gifts.

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Mr. Chairman and Members of the Subcommittee:

We appreciate the opportunity to participate in this hearing to discuss the
Secretary of the Interior's proposal to reorganize the Minerals

Management Service (MMS) in response to the Deepwater Horizon drilling sen
rig disaster. The tragic loss of life, damage to natural resources, loss of
livelihoods, and harm to local economies that resulted from the explosion,
fire, and catastrophic oil spill in the Gulf of Mexico have again drawn a
national attention to federal oversight of exploration and production of oil
and gas from federal land and waters. Under the current organizational se
structure, the Department of the Interior's bureaus are responsible for ce
regulating the processes that oil and gas companies must follow when

leasing, drilling, and producing oil and gas from federal leases as well as

ensuring that companies comply with all applicable requirements.

Specifically, the Bureau of Land Management (BLM) oversees onshore

federal oil and gas activities, and MMS’s Offshore Energy and Minerals

Management (OEMM) oversees offshore oil and gas activities.

Additionally, MMS’s Minerals Revenue Management (MRM) is responsible

for collecting royalties on oil and gas produced from both onshore and

offshore federal leases. In fiscal year 2009, Interior reported collecting

over $9 billion in royalties for oil and gas produced on federal lands and

waters, purchase bids for new oil and gas leases, and annual rents on

existing leases, making revenues from federal oil and gas one of the largest

nontax sources of federal government funds.

In recent years, we and others, including Interior's Office of Inspector oo
General (OIG) have conducted numerous evaluations of federal oil and gas eee.
management and revenue collection processes and practices and have 7
found many material weaknesses (see app. II for related GAO reports).
Our work included reviews of Interior's oversight practices, operations, a
and rules, and our conclusions have been remarkably consistent: the
agency has not done enough to meet the challenges itfaces. Others, =>
including the Interior OIG and a panel of experts convened by Interior
have drawn similar conclusions. As a result, Interior staff are in the midst
of attempting to implement over 100 recommendations spanning the scope
of the department’s operations. We acknowledge Interior's efforts to
reassess key oil and gas policies addressing revenue collection and rates
of development on federal lands and waters as an important first step to
address material weaknesses. In addition, the Secretary of the Interior
announced several changes to BLM’s leasing process in May 2010,

Because of the recent announcement of the Secretary's proposed
reorganization, we have not conducted a detailed analysis of these

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reorganization plans. However, our recent work on oil and gas
management as well as work in the area of strengthening independent
oversight of nuclear facilities and operations can be useful in evaluating
key aspects of the Secretary’s plans to reorganize MMS. In a 2008 report,’
we identified the following key elements that any nuclear safety oversight
organization should possess in order to provide effective independent
oversight:

* Technical expertise: The organization should have sufficient staff with
the expertise to perform sound safety assessments.

+ Ability to perform reviews and require that findings be addressed:
The organization should have the working knowledge necessary to review
compliance with requirements, developed through periodic reviews, and
should also have sufficient authority to require the program offices to
effectively address its review findings and recommendations.

« Enforcement authority: The organization should have sufficient
authority to achieve compliance with requirements.

* Public access: The organization should provide public access to its
reports so that. those most affected by operations can get information.

» Independence: The organization conducting oversight should be
structurally distinct and separate from the entities it oversees.

When coupled with findings and recommendations about the management
of federal oil and gas leases from our prior and ongoing work, these key
elements may provide the Secretary and Congress with a useful
framework for evaluating proposed reorganizations. While nuclear safety
differs from safety associated with offshore oil and gas development, we
believe there are similarities that make the key elements applicable.
Specifically, as has been made clear by the recent oil spill disaster in the
Gulf of Mexico, Interior is responsible for overseeing an industry with
potentially significant impacts on workers, the environment, and vast

IGAO, Nuclear Safety: Department of Energy Needs to Strengthen lis Independent
Oversight of Nuclear Facilities and Operations, GAO-09-61 (Washington, D.C.: Oct. 23,
2008). We developed these elements based on a long history of reviewing nuclear safety at
DOE and supporting independent oversight and through our work with outside nuclear
safety experts.

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Technical Expertise

areas of our oceans. Further, as with nuclear safety, even small probability
adverse events can have significant and far-reaching effects.

My testimony today uses the five key elements for effective independent
oversight to broadly frame examples from our prior work on the
management of federal oil and gas activities issued from June 2005
through March 2010, as well as preliminary results from our ongoing
review on public challenges to federal onshore oil and gas leasing
decisions, to assist the committee as it considers changes to Interior’s
oversight. We developed these preliminary results from June 2009 through
June 2010 by reviewing federal laws, regulations, and guidance; analyzing
data from Interior on the four Mountain West states (Colorado, New
Mexico, Utah, and Wyoming) responsible for 69 percent of the oil and 94
percent of the natural gas produced on federal lands during fiscal years
2007 to 2009;? and interviewing BLM officials and stakeholder groups—
including representatives from the energy industry, state government, and
nongovernmental organizations representing environmental, hunting,
fishing, and recreational mterests. We conducted the performance audit
work that supports this statement in accordance with generally accepted
government auditing standards. Those standards require that we plan and
perform the audit to obtain sufficient, appropriate evidence to produce a
reasonable basis for our findings and conclusions based on our audit
objectives. We believe that the evidence obtained provides a reasonable
basis for our statement today.

Agencies should have sufficient staff with the technical expertise to
oversee the activities under their authority. Oil and gas production
methods on federal lands and waters have become increasingly
sophisticated over the past decade. Additionally, oil and gas companies
now rely on information technology to manage and oversee their
operations. In a March 2010 review, we found tliat Interior had challenges
in hiring, training, and retaining staff in critical oil and gas oversight roles,
leading to questions about the technical capacity of Interior staff
overseeing oil and gas activities. °

2We assessed the reliability of these data and found them to be sufficiently reliable for our
purposes.

°GAO, Oil and Gas Management: Interior’s Oil and Gas Production Verification Efforts
Do Not Provide Reasonable Assurance of Accurate Measurement of Production Volumes,
GAO-10-313 (Washington, D.C.: Mar. 15, 2010).

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We found that Interior has faced difficulties in hiring, retaining, and
training staff in key oil and gas oversight positions. Specifically, we found
that staff within Interior’s program for verifying that oil and gas produced
from federal leases are correctly measured—including petroleum
engineers and inspectors—lacked critical skills because, according to
agency officials, Interior 1) has had difficulty in hiring experienced staff, 2)
has struggled to retain staff, and 3) has not consistently provided the
appropriate training for staff. Interior's challenges in hiring and retaining
staff stern, in part, from competition with the oil and gas industry, which
generally pays significantly more than the federal government. Moreover,
key technical positions responsible for oversight of oil and gas activities
have experienced high turnover rates, which, according to Interior
officials, impede these employees’ capacity to oversee oil and gas
activities. These positions included petroleum engineers, who process
drilling permits and review oil and gas metering systems, and inspection
staff—including BLM’s petroleum engineer technicians and production
accountability technicians onshore—who conduct drilling, safety and oil
and gas production verification inspections (see app. I). For example, we
found that turnover rates for OFMM inspectors at the four district offices
we reviewed between 2004 and 2008 ranged from 27 to 44 percent.
Furthermore, Interior has not consistently provided training to the staff it
has been able to hire and retain. For example, neither onshore nor
offshore petroleum engineers had a requirement for training on the
measurement of oil and gas, which is critical to accurate royalty
collections and can be challenging at times because of such factors as the
type of meter used, the specific qualities of the gas or oil being measured,
and the rate of production. Additionally, although BLM offers a core
curriculum for its petroleum engineer technicians and requires that they
obtain official BLM certification and then be recertified once every 5 years
to demonstrate continued proficiency, the agency has not offered a
recertification course since 2002, negatively impacting its ability to

conduct inspections. Jt is important to note that BLM’s petroleum engineer

technicians are the eyes and ears for the agency—-performing key
functions and also perhaps the only Interior staff with direct contact with
the onshore lease property itself.

We also found that Interior's efforts to provide its mspection staff with
mobile computing capabilities for use in the field are moving slowly and
are years from full implementation. Interior inspectors continue to rely on
documenting inspection results on paper, and later reentering these
results into Interior databases. Specifically, Interior’s BLM and OEMM are
independently developing the capacity for inspection staff to (1)
electronically document inspection results and (2) access reference
documents, such as American Petroleum Institute standards and

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Ability to Perform
Reviews and Require
that Findings Be
Addressed

measurement regulations, via laptops while in the field. BLM initiated
work on developing this capacity in 2001, whereas OEMM is now in the
preliminary planning stages of a similar effort. According to Interior
officials, widespread implementation of a mobile computing tool to assist
with production verification and other types of inspections, potentially
including drilling and safety, are still several years away. Interior officials
said having such a tool would allow inspection staff to not only easily
reference technical documents while conducting inspections to verily
compliance with regulations but also to document the results of those
inspections while in the field and subsequently upload them to Interior
databases.

An effective oversight program should include a component for systematic
inspections and reviews, whose findings should be documented and
subsequently addressed. In several recent reviews, we found that Interior
had been unable to complete its necessary reviews, including both
environmental and oil and gas production verification inspections and
certain offshore environmental analyses.

We found that Interior was unable to meet its goals for conducting
environmental and oil and gas production verification oversight
inspections because of a management focus on drilling. For example, in
June 2005, * we reported that Interior devoted fewer resources to
completing onshore environmental inspections—inspections to ensure
that oil and gas companies are complying with various environmental laws
and lease stipulations. According to Interior staff, one of the principal
reasons was that management shifted available resources to processing
drilling permits. More recently, in March 2010,° we reported that Interior
had only been able to complete approximately one-third of the required
onshore oil and gas production verification inspections, raising concerns
about the accuracy of the oil and gas volumes reported to MRM.

‘GAO, Oil and Gas Development: Increased Permitting Activity Has Lessened BLM's
Ability to Meet Its Environmental Protection Responsibilities, GAO-05418, (Washington,
D.C.; June 17, 2005). ,

5GAO-10-313,

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In another March 2010 report,® we found that MMS faces challenges in the
Alaska Outer Continental Shelf (OCS) Region in conducting reviews of oil
and gas development under the National Environmental Protection Act
(NEPA), which requires MMS to evaluate the likely environmental effects
of proposed actions, including oil and gas development.’ Although Interior
policy directed its agencies to prepare handbooks providing guidance on
how to implement NEPA, we found that MMS lacked such a handbook.
The lack of comprehensive guidance in a handbook, combined with high
staff turnover in recent years, left the process for meeting NEPA
requirements ill defined for the analysts charged with developing NEPA
documents. It also left unclear MMS’s policy on what constitutes a
significant environmental impact as well as its procedures for conducting
and documenting NEPA-required analyses to address environmental and
cultural sensitivities, which have often been the topic of litigation over
Alaskan offshore oil and gas development. We also found that the Alaska
OCS Region shared information selectively, a practice that was
inconsistent with agency policy, which directed that information,
including proprietary data from industry, be shared with all staff involved
in environmental reviews. According to regional MMS staff, this practice
has hindered their ability to complete sound environmental analyses under
NEPA.

In an August 2009 report examining Interior's royalty-in-kind (RIK)
program,® we found that although MRM staff had made progress in
conducting reviews of gas imbalances—instances where Interior may not
be receiving the total amount of royalties due from gas production—they
were unable to determine the exact amount the agency was owed for
imbalances because it lacked certain key information. For example, MRM
did not verify production data to ensure it received its entitled percentage
of RIK gas from leases taken in kind. Without these and other data, MRM
staff were unable to quantify revenues from imbalances, leading to forgone
revenues and uncertainty about how much gas the government is owed.

5GAO, Offshore Oil and Gas Development: Additional Guidance Would Help Strengthen
the Minerals Management Service's Assessment of Environmental Impacts in the North
Aleutian Basin, GAO-10-276, (Washington, D.C.: Mar. 8, 2010).

"Pub. L. No. 91-190, 83 Stat. 852 (1970).

°GAO, Royalty-in-Kind Program: MMS Does Not Provide Reasonable Assurance It
Receives Its Share of Gas, Resulting in Millions in Forgone Revenue, GAO-09-744,
(Washington, D.C.: Aug. 14, 2009).

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Enforcement
Authority

Until recently, Interior has left key functions it oversees without review for
long periods. In two reports issued in 2008, we noted that Interior received
less in royalties and other payments for development of its oil and gas
resources than many other countries and that Interior did less than other
landowners to encourage development of resources it leased for
development. In a September 2008 report on royalties and other
payments,’ we found that Interior had not done a comprehensive analysis
of its royalty and other revenue structure in over 25 years, and we
recommended that it do so. In an October 2008 report,” we found that
Interior had done less than selected states and private landowners to
encourage development of oil and gas leases, and we recommended that it
develop a strategy to evaluate options to encourage faster development on
federal lands. Just this year, Secretary Salazar directed Interior to conduct
studies examining these issues. We are encouraged that Interior is
undertaking these efforts and hopeful that the findings of the studies will
identify opportunities to improve Interior’s oversight of oil and gas
development.

Oversight entities must have the authority to ensure that all regulated
entities fully comply with the law and applicable regulations. In our March

.2010 report," we determined that in some instances Interior is uncertain

about its legal authority for undertaking necessary enforcement actions
and may be using its enforcement authority inconsistently.

We found that Interior had not determined the extent of its authority over
key elements of oil and gas production infrastructure necessary for
ensuring accurate measurement, This infrastructure includes meters in (or
after) gas plants, which may include the ineter where oil and gas are
measured for royalties and meters owned by pipeline companies. These
companies frequently own, operate, and maintain the meter used at the
official measurement point on federal leases and own the production data
the meter generates. Because it did not know the extent of its authority,
Interior did not know what steps it could take to enforce its standards and
regulations for meters. Thus it lacked assurances that royalty-bearing
volumes of oil and gas were correctly measured.

°GAO, Ou and Gas Royalties: The Federal System for Collecting Oil and Gas Revenues
Needs Comprehensive Reassessment, GAO-08-691, (Washington, D.C.: Sept. 3, 2008).

"GAO, Oil and Gas Leasing: Interior Could Do More to Encourage Diligent Development,
GAO-09-74, (Washington, D.C.: Oct. 8, 2008).

NGAO-10-313,

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Public Access

We also found that Interior inspection staff were not, In all cases, pursuing
enforcement actions when they identified oil and gas production activities
not in compliance with its regulations. Specifically, we found that some
Interior staff were not issuing incidents of non-compliance—a type of
enforcement action—when they identified certain measurement devices
during the course of their inspections, as they believe the current
measurement regulations were out of date. If staff do not uniformly ensure
compliance with regulations through specified procedures and document
their findings, Interior is at risk of not capturing data to know the full
extent of particular violations.

Organizations should make relevant information widely available to
ensure that those most affected by operations, including the public, can
fully participate in decision-making processes that can, ultimately, have
significant impacts. We recently found that Interior has been providing
inconsistent and limited information with respect to its use of categorical
exclusions in approving onshore oil and gas activities. Also, in preliminary
results from our ongoing work on public challenges to BLM’s federal
onshore oil and gas lease sale decisions, we found that BLM state offices
provide limited and varying amounts of information to the public on their
leasing decisions.

In September 2009, we found that BLM’s use of categorical exclusions was
not fully transparent.” In addressmg long-term energy challenges,
Congress enacted the Energy Policy Act of 2005, in part to expedite oil and
gas development within the United States.” This law authorizes BLM, for
certain oil and gas activities, to approve projects without preparing new
environmental analyses that would normally be required by NEPA. Section
390 of the Energy Policy Act of 2005 does not specify procedures for
involving or informing either the public or other government agencies
when section 390 categorical exclusions are used. According to Interior
and BLM officials, there is no requirement to publicly disclose that BLM
used a section 390 categorical exclusion to approve a project or to
disclose approved section 390 categorical exclusion decision documents.
Instead, the public depends on the discretion of each field office for such
disclosure. We found that BLM field offices had different degrees and

“GAO, Energy Policy Act of 2005: Greater Clarity Needed to Address Concerns with
Categorical Faxclustons for Oil and Gas Development under Section 390 of the Act,
GAO-09-872, (Washington, D.C.: Sept. 26, 2009}.

“Pub. L. No. 109-58, 119 Stat. 594 (2005).

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methods of disclosing information related to decisions on section 390
categorical exclusions. For example, some field offices, such as White
River and Glenwood Springs, Colorado, publicly disclosed online which
Applications for Permit to Drill they approved with section 390 categorical
exclusions. In contrast, other field offices, such as Price/Moab, Utah, and
Pinedale, Wyoming, did not publicly disclose their decisions to use section
390 categorical exclusions and, in fact, required the public to file Freedom
of Information Act requests to identify which projects BLM approved
using section 390 categorical exclusions and to obtain copies of approved
section 390 categorical exclusion decision documents. In some cases, it
was difficult for other governmental agencies—including state
environmental agencies—and the public to determine whether BLM had
used a section 390 categorical exclusion until it was too late to comment
on or challenge BLM’s action. When the public and other federal and state
agencies do not have a reliable or consistent way of determining which
projects have been approved with section 390 categorical exclusions, they
lack a fundamental piece of information needed to hold BLM accountable
for their use.

In preliminary results from our ongoing work on public challenges to
BLM’s federal oil and gas lease sale decisions in the four Mountain West
states responsible for most onshore federal oil and gas development, we
found the extent to which BLM made publicly available information
related to public protests filed during the leasing process varied by state
and was generally limited in scope. We also found that stakeholders—
nongovernmental organizations representing environmental, recreational,
and huniting interests that filed protests to BLM lease offerings--wanted
additional time to participate in the leasing process and more information
from BLM about its leasing decisions. In May 2010, the Secretary of the
Interior announced several agencywide leasing reforms that are to take
place at BLM, some of which may address concems raised by these
stakeholder groups. For instance, BLM state offices are to provide an
additional public review and conunent opportunity during the leasing
process. They are also required to post on their Web sites their responses
to letters filed in protest of state office decisions to offer specific parcels
of land for oil and gas development.

Independence

The agency should be free from the direct and indirect influence of the oil
and gas industry. Our past work, as well as that of Interior’s OIG, has
identified several instances where Interior staff had inappropriate
relationships with oil and gas industry personnel, raising questions about
whether Interior’s oversight efforts were sufficient.

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During the course of our audit work for our report on Interior's use of
categorical exclusions," allegations were made about inappropriate
relationships between Interior management and the oil and gas industry.
We referred these allegations to Interior’s OIG, which initiated an
investigation. The results of the investigation substantiated these
inappropriate contacts, the details of which are included in an Interior OIG
investigative report.

Additional reports by Interior’s O1G have also identified instances that call
into question the independence of key staff working in Interior's oil and
gas program. In August 2008, Interior's OIG reported on inappropriate
relationships between staff working im Interior’s RIK program and the oil
and gas industry.” Specifically, the OIG found that between 2002 and 2006
nearly one-third of the RIK program staff socialized with and received a
wide array of gifts and gratuities from oil and gas companies with whom
the prograrn was conducting official business. Most recently, in May 2010,
the OIG reported on inappropriate relationships between Interior’s
offshore inspection staff and certain oil and gas companies operating in
the Gulf of Mexico.” Interior’s Acting Inspector General stated that her
greatest concern is the environment in which these inspectors operate,
particularly the ease with which they move between industry and
government.

In conclusion, over the past several years, we and others have found
Interior to be in need of fundamental reform. This past work has found
weaknesses across a wide range of Interior’s oversight of onshore and off
shore oil and gas development. Secretary Salazar has taken notable steps
to begin comprehensive evaluations of leasing rules and practices as well
as the amount and ways in which the federal government collects
revenues. Interior is also currently implementing a number of our
recommendations aimed at making improvements within the existmg
organization of Interior's functions.

As the Secretary and Congress consider what fundamental changes are
needed in how Interior structures its oversight of oil and gas programs, we

4G A0-09-872.

Interior OIG, Investigative Report: Oil Marketing Group — Lakewood (Washington, D.C.:
Aug. 19, 2008).

interior OIG, Investigative Report: Island Operating Company et al (Washington, D.C:
Mar. 31, 2010).

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believe that our and others’ past. work provides a strong rationale for
broad reform of the agency’s oil and gas oversight functions—at MMS to
be sure, but also across other parts of Interior, including those responsible
for oversight of onshore areas. If steps are not taken to ensure effective
independent oversight, we are concerned about the agency's ability to
manage the nation’s oil and gas resources, ensure the safe operation of
onshore and offshore leases, provide adequate environmental protection,
and provide reasonable assurance that the U.S. government is collecting
the revenue to which it is entitled. Reorganization and fundamental change
can be very difficult for an organization. Although we have not conducted
a detailed evaluation of Secretary Salazar’s proposals for reforming MMS,
we believe that regardless of how MMS is ultimately reorganized, Interior’s
top leadership must also address the wide range of outstanding
recommendations for any reorganization effort to be effective.

Mr. Chairman, this completes my prepared statement. [ would be happy to
respond to any questions that you or other Members of the Subcommittee
may have at this time.

ADR

For further information on this statement, please contact Frank Rusco at.
GAO Contact and (202) 512-3841 or ruscof@gao.gov. Contact points for our Congressional
Staff Relations and Public Affairs offices may be found on the last page of this
Acknowledgement statement. Other staff that made key contributions to this testimony

include, Ron Belak, Dan Feehan, Glenn C. Fischer, Jon Ludwigson, Ben
Shouse, Kiki Theodoropoulos, and Barbara Timmerman.

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Appendix I: Data on Turnover of Key
Department of the Interior Inspection Staff

Table 1: Total Turnover Rates for Bureau of Land Management (BLM) Petroleum Engineers, Fiscal Years 2004-2008

Total employees leaving position, F¥2004-08
(of the number employed in that fiscal year)

Total

Total number employees Average number
Turnover of employees leaving of employees
percentage in position, position, in position,
Field office FY¥2004-08 FY¥2004-08 FY2004-08 2004 2005 2006 2007 2008 FY2004-08
Buffalo 80 5 4 10f3 1 of 2 jof2 dOof2 1 of 2 2
Carlsbad 75 4 3 ji of OofO 1 of 1 Oof 3 1 of 3 2
Farmington 50 8 4 iof6 Oof6 20f6 Oof5 1 of 5 6
Glenwood 50 2 1 Gof 0 Oofd Oof 1 O of 1 1 of 1 1

Springs
White River 100 2 2 Oof 1 1 of 1 Oof 1 Oof 1 1 of1 1
Pinedale 100 2 2 Ooft Oof 1 O of 1 1072 1 of 7 1
Roswell 80 5 4 Gofs Oof5 2o0f5 Oo0r3 20f3 4
Vernal 33 6 2 0 of 2 2of3 Oof2 Oof2 Gof4 3

Source; GAO anatysis of !ntarior data.

Note: We caiculated the total turnover rate by (1) counting the number of individual petroleum
engineers who separated from BLM, plus those who changed locations, plus those who changed
from the petroleum engineer position to another position within that oifice; (2) dividing that by the
number of individual petroleum engineers employed in each BLM office from fiscal years 2004
through 2008. For those individuals who changed jobs or locations, we did not determine whether
they changed jobs or locations because of a management decision, as opposed to the employees’
own decision.

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Table 2: Total Turnover Rates for BLM Petroleum Engineer Technicians, Fiscal Years 2004-2008

Total employees leaving position, FY¥2004-08
(of the number employed in that fiscal year}

Total

Total number employees Average number
Turnover of employees leaving of employees
percentage in position, position, in position,
Field office FY¥2004-08 FY¥2004-08 FY2004-08 2004 2005 2006 2007 2008 FY2004-08
Buffalo 30 20 6 iof12 Oofi2 2o0f13 2oft4 10715 13
Carlsbad 47 19 9 1of10 1of9 4o0f9 1of1G 2o0f12 10
Farmington 54 37 20 1of22 30125 7of24 3of2l Gof22 23
Glenwood 67 3 2 Oofd oof d Oof 0 Oof2 2of3 3

Springs
Hobbs 22 g 2 20f8 cofé oof6 Qof6 dof6 6
White River 55 11 6 jof2 20f3 Gofi jof2 2o0f7 3
Pinedale 83 12 10 1of2 1of6 20f6 Soff 3of5 5
Roswell 57 7 4 Oof 4 Oof 4 1of4 1of4 2o0f5 4
Vernal 17 18 3 io0f13 1o0f14 %io0f13 GoftS Oofis id

Source: GAO analysis of Interior data.

Note: We calculated the total turnover rate by (1} counting the number of individual petroleum
engineer technicians who separated from BLM, plus those who changed locations, plus those who
changed from the petroleum engineer technician position to another position within that office; (2)
dividing that by the number of individual petroleum engineer technicians employed in each BLM office
from fiscal years 2004 through 2008. For those individuals who.changed jobs or locations, we did not
determine whether they changed jobs or locations because of a management decision, as opposed to
the employees’ own decision.

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Table 3: Total Turnover Rates for BLM Production Accountability Technicians, Fiscal Years 2004-2008

Total employees leaving position, FY2004-08
(of the number employed in that fiscal year)

Total a
Totalnumber employees Average number “
Turnover of employees leaving of employees —
percentage in position, position, in position, sere:
Field office FY2004-08 FY¥2004-08 FY2004-08 2004 2005 2006 2007 2008 FY¥2004-08 see
Buffalo 75 8 6 Oof2 OGof2 Oof2 S3o0f4 Bofd 3 a
Carlsbad 67 3 2 tofi QofO OCofO OofO tof2 2 .
Farmington 63 8 5 Gof3 dlof4 oOof3 20f5 2of5 4
Gienwood 0 1 0 OofO OofO OofO0 Oof1 Oofi 1
Springs .
Hobbs 50 4 2 Oof1 Oof2 Oof2 2of4 Oof2 2 veer
White River 50 2 1 Oof0 OofO GofO iof2 Oofi 2 ae
Pinedale 100 3 3 dofO Oofi 0 of 1 1ofi 2o0f2 4
Rasweli 100 1 1 1 of 1 dott Odof0 OofO ODofd 1
Vernal 50 2 1 j1ofi 0 of 1 0 of 1 Oof2 Oof2 1

Sources: GAO analysis of Interior data.

Note: We calculated the total turnover rate by (1) counting the number of individual production
accountability technicians who separated from BLM, plus those who changed locations, plus those
who changed from the production accountability technicians to another position within that office; (2)
dividing that by the number of individual production accountability technicians employed in each BLM
office from fiscal years 2004 through 2008. For those individuals whe changed jobs or locations, we
did not determine whether they changed jobs or locations because of a management decision, as
opposed to the employees’ own decision.

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Table 4: Total Turnover Rates for Offshore Energy and Minerais Management (OEMM) Petroleum Engineers who Approve
Measurement, Fiscal Years 2004-2008

Total employees leaving position, FY2004-08 nee

{of the number employed in that fiscal year) ramemes

Total oe

Total number employees Average number 7

_ Turnover of employees leaving of employees ~
percentage in position, position, in position,
Regional office FY2004-08 FY2004-08 FY2004-08 2004 2005 2006 2007 2008 FY2004-08
Gulf of Mexico 30 10 3 Oof8 tof? 20f6 Qof7 dof? 7

region

Pacific region 0 1 0 Oof1 dof 1 0 of 1 Oof 1 Oofi 1

Table 5: Total Turnover Rates for OEMM Inspectors, Fiscal Years 2004-2008

Source: GAC analysis of Interior data.

Note: We calculated the total turnover rate by (1} counting the number of individual petroleum cues,
engineers who separated from OEMM, plus those who changed locations, plus those who changed 5
from the petroleum engineers to another position within that office; (2) dividing that by the humber of mame
individual petroleum engineers empioyed in each OEMM office from fiscal years 2004 through 2008.
For those individuals whe changed jobs or locations, we did not determine whether they changed jobs

or locations because of a management decision, as opposed to the employees’ own decision. a

Total employees leaving position, F¥2004-08 7
(of the number employed in that fiscal year)

Total
Total number employees Average number
Turnover of employees leaving of employees
percentage in position, position, in position, a
District office FY2004-08 FY2004-08 FY2004-08 2004 2005 2006 2007 2008 FY2004-08 venmeces
New Orleans 42 19 8 10f13 Oof13 2o0f13 Sof14 2of13 13 —
Lake Jackson 27 Vi 3 Oof9 Oof11 2ofli Oof 9 1of9 10 -
Lake Charles 41 17 7 2of 15 Oof13 Oof13 1ofi3 4of14 14
California 44 9 4 Oof? 20f9 Oof7 dof? 106 | 7

Source: GAO analysis of Interior data,

Note: We calculated the total turnover rate by (1) counting the number of individual inspectors whe
separated from OEMM, plus those who changed locations, plus those who changed from the
inspectors to another position within that office; (2) dividing that by the number of individual inspectors
employed in each OEMM office from fiscal years 2004 through 2008, For those individuals who
changed jobs or locations, we did not determine whether they changed jobs or locations because of a
management decision, as opposed to the employees’ own decision. wee

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